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                   IN THE DISTRICT COURT OF THE UNITED STATES
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION


UNITED STATES OF AMERICA,    )
                             )
               Plaintiff,    )
                             )
            v.               )                        MISC. MO.         6-111c              (p-- Y11-0T-5RW
                             )
RAYMOND JAMES AND ASSOCIATES,)
                             )
                Garnishee,   )
                             )
CHRISTI MURPHY-THOMAS,       )
                             )
               Defendant     )

                                      WRIT OF GARNISHMENT

       GREETINGS TO:          RAYMOND JAMES AND ASSOCIATES
                              Attn: David Petty
                              7460 Halcyon Pointe Drive, Suite 301
                              MONTGOMERY,AL 36117


       Judgment having been entered in the above cause on August 14, 2018 in the sum of

$96,982.29, against the defendant, CHRISTI MURPHY-THOMAS, said sum having not been

paid, you are commanded to immediately withhold all property in your custody, control or

possession of the defendant, CHRISTI MURPHY-THOMAS,including but not limited to, the

defendant's individual retirement accounts, 401-K accounts, checking accounts, savings

accounts, private reserve accounts,IRAs, CDs, etc., and retain it in your possession until you

receive instructions from the Court which will tell you what to do with the property and which will

notify you when this Writ is no longer in effect.
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       IN WITNESS WHEREOF, I, Debra P. Hackett, Clerk of said Court, have Set My Hand

this the
              lh     day of            WA                         ,2018.



                                             DEBRA P. HACKETT, Clerk
                                             United States District Court
                                             For the Middle I is rict of Alabama

                                             BY:                                   ,
                                             Deputy Clerk
